Case 1:21-cv-00710-JB-LF Document126 Filed 01/16/24 Page 1of4
FILED

IN THE UNITED STATES DISTRICT COURPLEUGQUERQLE,
JAN 16 2024

FOR THE DISTRICT OF NEW MEXICO we
COURTHOUSE NEWS SERVICE, MITCHELL 8. ELFERS
CLERK
Plaintiff,

v. No. CIV 21-0710 JB/LF

NEW MEXICO ADMINISTRATIVE
OFFICE OF THE COURTS;
ADMINISTRATIVE OFFICE DIRECTOR
ARTHUR W. PEPIN; NEW MEXICO FIRST
JUDICIAL DISTRICT COURT CLERK’S
OFFICE; and the FIRST JUDICIAL
DISTRICT COURT CLERK KATHLEEN
VIGIL,

Defendants.

CONSENT JUDGMENT

Plaintiff Courthouse News Service (“Courthouse News”) has asserted that the practice of
the New Mexico Administrative Office of the Courts (““AOC” or “Defendant’’) in restricting public
access to newly e-filed, non-confidential civil complaints until after they are reviewed and
accepted by New Mexico District Court clerks, and the resulting delays in access, constitutes a
violation of Courthouse News’ First Amendment right of access to those complaints.

Mediation was held in this matter on October 10, 2023, and settlement discussions
continued thereafter. By agreement reached by the parties following mediation, the parties hereby
stipulate and agree that all matters currently in controversy between them have been settled, and
that in furtherance thereof, this Consent Judgment should be entered as follows:

1. The Court finds that it has jurisdiction over the parties and the subject matter of this
action, which was commenced by Courthouse News’ filing of a Complaint on July 30, 2021.

2. To facilitate the resolution of this matter, AOC has agreed to develop and
Case 1:21-cv-00710-JB-LF Document 126 Filed 01/16/24 Page 2 of 4

implement a system that, once implemented, will provide the press and public access to new non-
confidential civil complaints as they are received by the New Mexico state district courts via New
Mexico’s statewide e-filing system, and before processing, review, or acceptance by district court
clerks or staff.

b Specifically, AOC shall develop and implement an electronic queue (“Electronic
In-Box’”’) through which non-confidential civil complaints shall be accessible upon receipt by the
New Mexico state district courts on a publicly-accessible website maintained by AOC. The
Electronic In-Box shall be implemented, and non-confidential civil complaints shall be accessible
via the Electronic In-Box, pursuant to the following schedule:

a. Within three (3) months of December 18, 2023, AOC shall develop a technical
implementation schedule. AOC thereafter shall provide Courthouse News with
two bimonthly reports confirming progress developing the Electronic In-Box in
accordance with Defendant’s technical implementation schedule.

b. Within nine (9) months of December 18, 2023, Defendant shall make the
Electronic In-Box available remotely online to registered members of the press
or public. Defendant agrees to provide CNS written notice confirming the
Electronic In-Box is operational pursuant to this subsection.

4, Within ten (10) days after implementation of the Electronic In-Box pursuant to the
deadline established by Section 3.b., above, Defendant shall pay to CNS the sum of Two Hundred
Thousand Dollars ($200,000) in satisfaction of CNS’s claim for attorneys’ fees and costs pursuant

to 48 U.S.C. Section 1988.
Case 1:21-cv-00710-JB-LF Document126 Filed 01/16/24 Page 3of 4

5. This Consent Judgment disposes of all claims by Courthouse News, including
Courthouse News’ claim for declaratory and injunctive relief pursuant to 42 U.S.C. Section 1983,

and Courthouse News’ claim for attorneys’ fees and costs pursuant to 42 U.S.C. Section 1988.

6.

TED STATES I}]IS{RJCT JUDGE

SUBMITTED BY:
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Case 1:21-cv-00710-JB-LF Document 126

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Filed 01/16/24

Page 4 of 4
